        Case 4:20-cr-00181-BLW Document 45 Filed 12/30/20 Page 1 of 2




                      UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF IDAHO

  UNITED STATES OF AMERICA,
                                              Case No. 4:20-CR-00181-BLW
        Plaintiff,
                                              ORDER ADOPTING REPORT
         v.                                   AND RECOMMENDATION

  JAMES HESLEP,

        Defendant.


      Before the Court is a Report and Recommendation filed by the United States

Magistrate Judge. (Dkt. 43). On December 14, 2020, Defendant James Heslep

appeared before the Magistrate Judge to enter a change of plea pursuant to a

written plea agreement. The Magistrate Judge conducted the plea hearing and

concluded there is a factual basis for Defendant’s plea of guilty to the charges

contained in Counts 1 and 2 of the Information (Dkt. 26), and that they were

entered voluntarily and with full knowledge of the consequences. No objections to

the Report and Recommendation have been filed.

      The Court has reviewed the record and finds that the requirements of Rule

11 have been met. See United States v. Reyna-Tapia, 328 F.3d 1114 (9th Cir.

2003). Specifically, the Court finds that the Magistrate Judge adhered to the

requirements of Rule 11(b); that under Rule 11(b)(2), the Defendant’s plea was



ORDER ADOPTING REPORT AND RECOMMENDATION- 1
        Case 4:20-cr-00181-BLW Document 45 Filed 12/30/20 Page 2 of 2




voluntary and not the result of force or threats or promises apart from the plea

agreement; and that a factual basis for the plea exists. See id. Accordingly,

      NOW THEREFORE IT IS HEREBY ORDERED that the Report and

Recommendation (Dkt. 43) shall be, and the same is hereby, ADOPTED as the

decision of the District Court and incorporated fully herein by reference.

      IT IS FURTHER ORDERED that the Defendant’s plea of guilty to the

crimes charged in Counts 1 and 2 of the Indictment (Dkt. 26) shall be, and the

same is hereby, ACCEPTED by the Court as a knowing and voluntary plea

supported by an independent basis in fact containing each of the essential elements

of the offense.

      IT IS FURTHER ORDERED that Defendant James Heslep is found to be

GUILTY as to the applicable crimes charged in the Information. (Dkt 26).



                                                    DATED: December 30, 2020


                                              _________________________
                                              B. Lynn Winmill
                                              U.S. District Court Judge




ORDER ADOPTING REPORT AND RECOMMENDATION- 2
